CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Fi|‘| iri this information to identify your case:`

    

Eastem District of New York

f United States Bankruptcy Court for the:
Case number (lfi<nown)_- gamer you are filing under: l
§ Chapter?
i \:l Chapter11
ill Chapter 12 . . .
g Chapte,w i:l Check if this is an
l

amended filing

 

Officia| Form 101
Voluntary Pe'tition for lndividuals Filing for Bankruptcy 12115

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together--called a
joint case~and in joint cases, these forms use you to ask for information from both debtors. For exampleJ if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information ls needed about the spouses separate|y. the form uses Debtor 1‘ and

Debfor 2 to distinguish between them. |n joint cases. one of the spouses must report information as Debtor 1 and the other as Debfor 2. The
same person must be Debi‘or 1 in all of the forms.

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct

information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question. <“ \.¢

m ldentify Yourself

 

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: _ Ahout Debtor 2 (Spouse Only in a Jolnt Case):
1. Your full name
Write the name that is on your Hi|ario
government-issued picture _ ,
identification (for examp|e. F"Si name F'rst name
your driver’s license or
passport). Nlidd|e name Middle name
Bring your picture Turcios Velasquez
identification to your meeting Lasl name '-ast name
With the trustee
suffix (sr., Jr.. ii, i:i) Suffix (sr., Jr., ii, ili)
2. Ai| other names you
have used ill the last 8 Fimt name First name
years
|nc|ude your married er Middle name Middle name
maiden names.
LaSt name Last name
First name First name
N|iddle name Midd|e name
Last name l_ast name
3. Only the last 4 digits of
your Socia| Security xxx H xx " _4 _1- l ; xxx " Xx _ _ “-- _ __
number or federal on OR
individual Taxpayer 9
identification number 9 XX ~ XX __ w _ _ xx - xx -_ _ _ _H_
(|TIN)

 

 

Ochial Fon'n 101 Vo|untary Petition for individuals Fi|lrig for Bankruptcy page 1

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Hilario Turcious Ve|asquez

First Nama Middle Neme Last Name

Deblor1 Case number (rrknow»i

 

 

4. Any business names
and Emp|oyer
identification Numbers
[E|N) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

m l have not used any business names or Ele.

About Debtor 2 (Spouse Only in a Joint Caso):

l:l | have not used any business names or Ele.

 

Business name

Business name

 

Eiusiness name

EN_

Business name

§F\i`_

ET|\]a

 

5. Where you live

60 E Meadow Avenue

|f Debtor 2 lives at a different address:

 

 

 

 

Number Street Number Street
East meadow NY 11554
City State Z|P Code City Stale Z|P Code
Nassau
County County

|f your mailing address is different from the one
above, fill it in here. Note that the oourt will send
any notices to you at this mailing address

|f Debtor 2’s mailing address is different from
yours, fill it in here. Note thatthe court will send
any notices to this mailing addressl

 

 

 

 

 

Nun‘iber Street Number Street

P.O. Box P.O. Box

City Slate ZlP Code City State Z.|P Code
6. Why you are choosing Check orie: Check one:

this district to file for
bankruptcy

m Overthe last 180 days before filing this petition.
l have lived in this district longer than in any
other districtl

l;l | have another reason. Exp|ain.
(See 28 U.S.C. §1408.)

 

 

 

 

L_..l Over the last 180 days before t"i|ing this petitionl
| have lived iri this district longer than in any
other district.

n | have another reason. Explain.
(See 28 U.S.C. §1408.)

 

 

 

 

 

Officia| Form 101

Vo|untary Petition for |ndividuals Fi|ing for Bankruptcy page 2

 

Debtor 1

Case 8-18-75490-ast

First Name

Hilario Turcious Velasouez

M|ddla Name

DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

CHSS number [ifknown)
Last Nume

m Teil the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Ciiecl< one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing
for Bankruptcy (Form 2010)). A|so, go to the top of page 1 and check the appropriate box.

w Chapter 7

El Chapter 11
Ci Chapter 12
El Chapter 13

Ei l will pay the entire fee when l file my petition. Please check with the clerk’s office in your
local couit for more details about how you may pay. Typica|ly, if you are paying the fee
yourself, you may pay with cash, cashier’s checl<. or money order. |f your attorney is
submitting your payment on your beha|f, your attorney may pay with a credit card or check
with a pre-printed addressl

Ei l need to pay the fee in installments if you choose this option, sign and attach the
Applr'cation for individuals to Pay The Fiiing Fee in installments (Official Form 103A).

Cl l request that my fee be waived (You may request this option only if you are filing for Chepter 7.
By |aw. a judge may, but is not required tol waive your fee, and may do so only if your income is
less than 150% of the official poverty line that appiies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Appiicaii‘on to Have the
Chapi‘er 7 Fili'ng Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for [| Nu
bankruptcy within the
last 8 years? Yes. District Ea-Stem When 09"01!2015 Case number 15"74137
l\ilN|l DDl\'Y‘(Y
District When Case number
l\i|ivll DDlY\’YY
Dlslrict When Case number
|'v'|l‘\liir DDlYYYY
10. Are any bankruptcy g No
cases pending or being
filed by a spouse Who is m Yes. Debtor Re|ationship to you
not ming this ca,$e W'th District When Case number, if known
you, or by a business MM ,DD ,iWYY
partner, or by an
affiliate?
Debtor Re|ationsh|p to you
Distrlct When Case number, if known
l\ii|\lli' DD iYYYY
11- D° _Y°u rent your m No. Go to line 12.
res'den°e? L:l Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

Ofticia| Form 101

n No. Go to line 12.

n Yes. Fi|l out initial Siatemem‘Aboui an Eviciion JudgmentAgainst You (Form 101A) and Hle it With
this bankruptcy petition.

Vo|untary Petition for individuals Fiiing for Bankruptcy page 3

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

DBbiOF'l Hi|arlo TU rCiOuS Ve|asquez Casg number (;fknown)

 

 

Firsl Ne me Mlddle Name l.ast Narno

m Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor NO_ 90 m part 41
of any full- or part-time
business? n Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

acor rail n, a ' ,
|_LClpo o p nnershlp or Number Street

 

Name of business, if any

 

if you have more than one
sole proprietorship, use a
separate Sheet and attach it
to this petition.

 

 

Cily State ZlP Code

Check the appropriate box to describe your business.'

El Health Care Business (as defined in 11 U.S.C. § 101(27l-\))
cl Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Cl stockbroker (as salinas in 11 u.s.c. § 101(53A))

cl Commodity Broker (as defined in 11 U.S.C. § 101(6))

El None of the above

 

13. Are you filing under li you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines |f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operationsl cash-flow statementl and federal income tax return or if

are you a sma” business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debt°r? l l m No. l am not ti|ing under Chapter11.

For a delinltlon of small

business deblol’. 866 Cl No. | am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U.S.C- § 101(519)- the Bankruptcy Code.

El Yes. l am ti|ing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

Report if ‘fou own or Have Any Hazardous Property or Any Prop¢rty Thalc Neecls immediate Attention

 

 

14. Do you own or have any m No
property that poses or is _
alleged to pose a threat n Yes. What lS the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs |f immediate attention is needed, why is it needed‘?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

Cit\,r Slate ZlP Code

Oi'ticial Form 101 Vo|untary Petit.ion for individuals Fi|ing for Bankruptcy page 4

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18

miami Hifario Turcious Velasouez

First Name Mldd|e Name

Lest Name

Eiit€red 08/14/18 16236:51

Case number iirhnawni

m Explain \'our Efforts to Receive a Briefing About Credit Counseiing

 

15. Tel| the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you tile for
bankruptcy You must
truthfully check one of the
following choices. |f you
cannot do so, you are not
eligible to fi|e.

|f you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
agaln.

Of‘Hcial Form 101

About Debtor 1:

You must check one.'

|;l l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any. that you developed with the agency.

q l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Wiihin 14 days after you file this bankruptcy petition,
you lV|UST tile a copy of the certificate and payment
plan, if any.

l:l l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days afterl made my request, and exigent
circumstances merits 30-day temporary waiver
of the requirement.

To ask for a 150-day temporary waiver of the
requirementl attach a separate sheet explaining
whatefforts you made to obtain the brie§ng, why
you were unable to obtain it before you fled for
bankruptcy, and what exigent circumstances
required you to tile this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissedl

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

i;l l am not required to receive a briefing about
credit counseling because of:

El |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

i;l Disabitity. lVly physical disability causes me
to be unable to participate in a
briefing in person. by phone, or
through the intemet, even after l
reasonably tried to do so.

i;l Active duty. l am currently on active military
duty in a military combat zone.

lt you believe you are not required to receive a
briefing about credit counseling, you must |i|e a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

m l received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

El i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of ccmpletion.

Within 14 days after you file this bankruptcy petition,
you NlUST file a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 130-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing. why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
brieHng before you filed for bankruptcy

if the court is satished With your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certihcate from the approved
agency, along with a copy of the payment plan you
developed, if any. |f you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

i;l l am not required to receive a briefing about
credit counseling because of:

a lncapacity. l have a mental illness ora mental '
deficiency that makes me `
incapable of realizing or making
rational decisions about flnances.

m Disabi|ity. iVly physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

Ei Active duty. | arn currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counselingl you must file a
motion for waiver of credit counseling with the court.

Vo|untary Petition for individuals Filing for Bankruptcy page 5

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

oobioii Hi|ario Turcious Velasouez

F list Name Mlddle Name Lest Name

Case number ilrimowni

Answer Theso C\i.iestions for Reporting Purposes

 

 

16. What kind of debts do
you have?

16a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as "incurred by an individual primarily for a persona|. family, or household purpose.”

Ei No.Goiolino ieb.
Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

m No. Go to line 16c.
Ci Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7'?

Do you estimate that after
any exempt property is

n No. l am not filing under Chapter 7. Go to line ’IB.

m Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and EZ[ No
administrative expenses
aro paid thai funds will bo m Y€S
available for distribution
to unsecured creditors?
ls. How many creditors do w 1-49 El 1,000~5,000 Ei 25,001-50.000
you estimate that you ill 50-99 El 5.001-10,000 El 50,001-100,000
°We? l;l 100-199 l._.i 10,001-25,000 E| lvloroihan 100,000
Ei 200-999
io. How much do you ill $0-$50,000 Ei $1,000,001-$10 million E| $500,000.001-$1 billion

estimate your assets to
be worth?

El $50.001-$100,000
l;l $100,001-$500,000
E $500,00_1-$1 million

til $10,000,001-$50 million
Ei $50,000,001-$100 million
Cl $100.000,001-$500 million

El $1,000,000,001_$10 billion
El $10,000.000,001-$50 billion
Ei lV|ore than $50 billion

 

20. i~|ow much do you
' estimate your iiabilities
to be?

 

` Sign Beiow

El $0-$50,000

El $50,001-$100,000
El $100.001-$500.000
Ei $500.001-$1 million

EI $1,000,001-$10 million

El $10,000,001-$50 million
Ei sso,ooo,ooi-$ico miliion
El sioo.ooo,ooi-ssoo million

ill $500,000.001-$1 billion

Ei $1,000,000,001-$10 billion
E] $10,000.000,001-$50 billion
i;i lVlore than $50 billion

 

_ For you

l have examined this petition, and i declare under penalty of perjury that the information provided is true and

correct

lfl have chosen to file under Chapter 7, l am aware that l may proceed. if eligible, under Chapter 7, 11,12, or 13
of title 'li. United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this documentl l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both_
18 U.S.C. §§152, 1341, 1519, and 3571.

x»l

Signature of Debtor 1

Executed on

MM f DD J'YYYY

l /./. ll/r`

 

Signature of Debtor 2

Executed on ___“_
illil\li l DD IYYYY

 

Official Form 101

-§`§*R».=?i§ "'"`

Voluntary Petition for individuals Filing for Bankruptcy

page 6

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

oooiori Hilario Turcious Veiasouez

Flrst Name Middle Name Lest Name

Case number iirlmowni

  

`. §€'>» .`»¢‘.v§i§efi i. " ‘: §$i-~ ¥*.-~,` ‘;‘§’5`5 `.%":i“’ zi'§`¢",'*)‘.; , § Jt°-_L; 5 "’\?`f\"'.~-/§§"i \1‘55,:'§§ §§

       

' w'. do

 

l, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12. or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligiblel l also certify that l have delivered to the debtor(s)
the notice required by 11 UlS.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no
if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect

by an attorney, you do not

For your attorney, if you are
represented by one

 

need to file this a e.
p g x /s/ Kafi Harris coe 07120!2018
Signature ofAttorneyforDebior M|\il ll DD IYYYY
Kafi Harris

 

F‘linted name

Koii norris a Asoooiaioo Pc '

Firm name

41 l-lilton Avenue
Ni.lmber Street

 

l-iempstead NY 11550
City State ZlP Code

 

  

Ochia| Form 101

Contact phone (515) 243-3131

442'|921

Bar number

Emai| address kharris|aw mail.COm

NY

State

”$’§TXW~§§WM`£§§§§€MY§§E§MWU§§¥;§§§§es§§§:;‘-§§§b'§::»§§§r§§$:`§§ MZ§M%"€M§E@§§§W*WM§§ k ,~;§..»`

 

Vo|untary Petition for individuals Filing for Bankruptcy page 7

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

 

 

De,m,i Hilario Turcious Velasquez oasenumoon,n,,.,wn
Firsl Name Miiidie Name Lasi Name

   

For you if you are filing this The law allows you, as an lndividual, to represent yourself in bankruptcy court. but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfullyl Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

if you are represented by
an attorney, you do not To be successfu|, you must correctly file and handle your bankruptcy case The rules are very

need to file this page_ technicai, and a mistake or inaction may affect your rights. For examp|e, your case may be
dismissed because you did not file a required document pay a fee on timel attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trusteo, bankruptcy administrator, or audit
hrm if your case is selected for audit. if that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy you must list that debt
in your schedulesl if you do not list a debt, the debt may not be discharged lf you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lylng. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and completel
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rl.iles of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that app|y.

Are you aware that filing for bankruptcy ls a serious action with long-term financial and legal
consequences?

a No
Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be Hned or imprisoned?

Ci No

Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

Ei Yes. Name of Person »
Atlach Bankruptcy Pefl'fi`orl Preparer's Nofr'ce, Declaraticri, and Sl’grlature (thcial Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an atforney. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

Xdrllarlrburob:)_ltn:gtee >€

 

 

 

 

 

Signature of Debtor 1 Slgnaiure of Debtor 2
Date Date
Nll\li f DD fY‘l"l’Y |Vl|\ilf DD lY‘fY‘l’
Contact phone (516) 302'3282 Contact phone
Cell phone Gei| phone
Email address Email address

 

 

    

ss%’“éfé§i§®o_“”$€‘§ Wi§§§§s?§s o"‘¥§§l§§§§§s§§§i£§§ §§“o§§§<§$;§§:`;*i s@e§$*£§§§M§?§§§§§§§§§$

 

" ii§£§-j§§??

 

j§‘f§.“»»“,es§"£ sa§§eii§§s@§§§"; §§

 

Ochia| Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 8

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18

,":-‘L'Fii_un` 'this'iihrormatiqnj'{o` _"`d¢"_tif`y"yéur cases _ _. .

    

named Hllario Turcious Ve|asquez

Firsi No me Mlddle Name Last Name

     

 

       
     

Debtor 2
(SpDUSG, if filing} Flrst Name M|cid|e Name last Name

 

        

United States Bankruptcy Ccurt for the: Eastern District of New York

 
 

Case number
(lf known)

 

 
 

 

Official Form 106Dec

 

Elii€red 08/14/18 16236:51

El Check ifihis is an
amended filing

Deciara'tion About an individual Debtor’s Schedu|es me

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000. or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

Did you pay or agree to pay someone who is NOT an attorneth help you fill out bankruptcy forms?

MNU

n Yes. Name of person . Attach Bankruptcy Petition Preparer‘s Notice, Decleraflon, and
Signafure (Otficia| Form 119).

Under penalty of perjury, | declare that l have read the summary and schedules filed with this declaration and

that they are true and correct.

 

 

 

Signature of Debtor 1 Signature of Debtor 2
Date Date
MM.' DD r YYYY MM/ DD.' vYYv

 

Official Form 106Dec Declaration About an individual Debtor’s Schedu|es

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entered 08/14/18 16236:51

Fiii in this information to identify your case:

centum Hilai'io Turcious Velasquez

Flrsi Name Middie Na me Lasi Name

 

Debtor 2
(Spouse. if filing} Firsi Name Midd|s Name L)aet Name

 

United States Bankruptcy Court for the: Easterri Disirict Of NBW York

Case number
i|f known)

 

 

 

Official Form 1068um

 

[:l Check if ihis is an
amended filing

Summairy of Your Assets and Liabilities and Certain Statistical Information 12r15

 

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. Fiii out ali of your schedules first; then complete the information on this form. if you are filing amended schedules after you file

your original formsl you must fill out a new Summary and check the box at the top ofthis page.

Summarize Your Assets

1. Schedule A/B: Property (Ofiicia| Form 106NB)
1a. Copy line 55, Total real estate, from Schedule A/B

1b. Copy line 62, Tota| personal property, from Schedu!e A/B ..

1c. Copy line 63, Tota| ofal| property on Schedule A/B

m Surnmarize Your Liahi|ities

2. Schedule D: Credil‘ors Who Have C!ar'ms Secured by Property (Official Form 1060)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Scheduie D ............

3. Schedule E/F: Creditors Who Have Unsecured Clar'ms (Official Form 106EIF)
3a Copy the total claims from Part1 (priority unsecured claims) from line 6a of Scheduie E/F

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F

Your assets
Value of what you own

 

$ 773,753.00
$ 11,045.87
$ 734,738.87

 

 

 

Your liabilities

Amount you owe
$ 647,515.00
$ 0.00

+ $ 65,817.00

 

 

 

 

 

 

Your total liabilities s 713»332-99
Summarize ¥our income and Expenses
4. Schedule l: Your income (Ofiicia| Form106l) 6 834 00
Copy your combined monthly income from line 12 of Schedule l . $___’__‘_
5. Schedule J.' Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22a of Schedule J $_M

 

Ofiicial Form 1068um Summary of Your Assets and Liahi|ities and Certain Statisticai information

page 1 of 2

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

mwa l-li|arlo Turcious Veiasquez case nu

Firsi Name Midd|e Name Last Name

 

Answer These Questions for Administrative and Statistica| Records

miller (ifknawn)

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

m Ves

cl No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedulesl

 

?. What kind of debt do you have?

this form to the court with your other schedulesl

w ¥our debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
famiiy, or household purpose." 11 U.S.C. § 101(8). Fill outlines 8-99 for statistical purposes 28 U.S.C. § 159.

a Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

 

Form 122A-1 Line 11; OR, Form 1225 Line 11; OR, Form 1220-1 Line 14.

e. From the Sfatemeni of Your Currenf Monfhiyincome: Copy your total current monthly income from Ofiiciai

 

$ 4,904.32

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

Tota| claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line Sa.) $_M
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $W___M
9c_ Claims for death or personal injury while you were intoxicatedl (Copy line 6c.) $m____w
9d. Student loans. (Copy line 6f.) $_m____Q"-_(£
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ O_O(]

priority claims. (Copy line 69.} @
Qf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line Bh.) + $ 0-00
9g. Tota|. Add lines 93 through Qf. $ O-OO

 

 

 

 

Ofnciai Form 10ESSum Summary of Your Assets and Liabiiities and Certain Statisticai information

page 2 of 2

 

Case 8-18-75490-ast

DOC 1 Filed 08/14/18

`Fiil in this information t_o identify your case and this filing:

mwa Hilario Turcious Velasquez

 

Flrs! Name Midd|e Name

Debtor 2

Lasl NalllB

 

(Spouse. iifllingi Firar Name nude Name

Last Nam e

United States Bankruptcy Court for the: Eastern Disirict of New York

Case number

 

 

 

Officia| Form 106A/B

 

Schedu|e AIB: Property

Eiii€i’ed 08/14/18 16236:51

El check ir ihis is an
amended filing

12!15

 

in each category, separately list and describe items. List an asset only once. |f an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possibie. if two married people are filing together, both are equally
responsible for supplying correct informationl if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (lf known). Answer every question.

m Describe Each Residenoe, Building, I..and, or Other Real Esf:ate \’ou Own or Have am interest ln

7 1. Do you own or have any legal or equitable interest in any residencel building, land, or similar property?

El No. co to Part 2.
m Yes. Where is the property?

1_1_ 60 East lVleadow Avenue

 

Street address, if availablel or other description

 

 

 

East Meadow NY 11554
City State ZlP Code
Nassau

Couniy

|fyou own or have more than one, list here:

1_2_ 55 `|'ennesse Avenue

 

Street address, if availab|e, or other description

 

 

 

Hempstead NY 11550
City State ZlP Code
§ Nassau
§ Couniy

Ofncial Form 106AIB

What is the property? Check eli that apply.
M Single-fami|y home

n Duplex or multi~unlt building

n Condom|nium or cooperative

El Manufactured or mobile home

El Land

n investment property

n Timeshare

Cl Other

 

Who has an interest in the property‘? Check one.
g Debtor 1 only

n Debtor 2 only

ill Debtor 1 and Debtor2 only

ij At leastone of the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:
Credr'fors Who Heve Clafms Secured by Property

Current value of the Current value of the
entire property? portion you own?

5 413,336.00 $ 413,336.00

 

Describe the nature of your ownership
interest (such as fee simpie, tenancy by
the entireties, or a life estate), if known.

fee simple

 

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

What is the property? Check all that apply.
q Single-fami|y home

cl Duplex or multi~unil building

l:l Condorninium or cooperative

[;l l‘vlanufactured or mobile home

m Land

n investment property

m Timeshare

El other

 

.¢.. =cv. s ,. .-=¢,.

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Ciaims Secured by Properfy.

Current value of the Current value of the i
entire property? portion you own? '

$ 355,417.00 $ 355.417.00§

.' ;=..`-..-./.n` ,s`-i,s -»¢.-,t>.,=M-.,sc»,..\:.» ,_

 

Describe the nature of your ownership
interest (such as fee simp|e, tenancy by
the entireties, or a life estate), if known.

Who has an interest in the property? Check one. ie£_$lmple

U Debtor 'l only

n Debtor 2 only

L_..l Debtor 1 and Debtor2 only

m Al least one of the debtors and another

n Check ifthis is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Schedu|e AfB: Property

page 1

Case 8-18-75490-ast

fmwa Hilario Turcious Ve|asqusz

 

Firsi Name Mlddie Name

1.3.

Last Name

 

Street address, if avai|eb|e, or other description

 

 

City State

ZlP Code.

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1l including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... 9

m Descrihe Your Vehicles

What is the property? Check ali that apply.
a Singie-famiiy home

i;l Duprex or mulii-unii building

m Condominium or cooperative

m Nlanufactured or mobiie horne

|:i Land

El investment property

|;l Timeshare

n Other

 

Who has an interest in the property? Check one.
n Debtor1 only

n Debtor 2 only

[;l Debtor1 and Debtor2 only

cl At least one of the debtors and another

Case number irrrinuwii)

DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D.'
Crediiors Who Have Ciaims Secured by Properiy.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

l;l Check ifthis is community property
(see instn.lctions)

Other information you wish to add about this item, such as local

property identification number:

 

 

$ 773,753.00

 

 

 

Do you ownl |ease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicle. also report it on Scheduie G: Executory Coniracts and Unexp.ired l_eases.

3. Cars, vans, trucks, tractorsl sport utility vehicles, motorcycles

cl No
M Yes
3_1_ Make: Nissan
Model: |V|orano
Year: 2009
120000

Approximate mileage:

Other information:

 

 

 

 

if you own or have more than one, describe here:

3_2_ lVlake:
Model:
Year:
Approxirnate mileage:

Other information:

 

 

 

 

Ofilcia| Form 106A/B

Who has an interest in the property? Check one.
m Debtor1 only

L_.l Debtor2 only

n Debtor1 and Debtor 2 only

El At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

l;l Debtori only

i;] Debtor2 only

n Debtor1 and Debtor 2 only

El At least one of the debtors and another

El Check if this is community property (see
instructions)

Scheduie AIB: Property

Do not deduct secured claims or exemptionsl Put

the amount of any secured claims on Scheduie D.'
Crediiors Who Have Claims Secured by Properth
Current value of the Current value of the
entire property? portion you own? `

$ 4,900.00 $

 

4,900.00

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedui'e D:
Crediiors Who Have Clar'ms Secured by Property

Current value of the Current value of the i
entire property? portion you own?

page 2

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

 

 

Debtor1 Hi|ario Turcious Velasquez Case number rimnawn)
Flrst Name Middte Name Last Name
3_3_ lVlake: Wh° has an interest in the Pr°l'-‘e"ty? Check 9"9- Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
lV|ode|: n De bt°r 1 only Crediiors Who Have Ciaims Secured by Property.
Y n Debtor 2 only
ear:

Approximate mileage:

Other information:

 

 

 

 

3_4_ lVlake:
lV|ode|'.
Year:
Approximate mileage:

Other information

 

 

 

 

n Debtor1 and Debtor 2 only
Ci At least one of the debtors and another

L:i Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor 1 only

n Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

l;l Check if this is community property (see
instructions)

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptionsl Put
the amount of any secured claims on Schedule D:
Creditors Who Have Clai`ms Secured by Properiy.

Current value of the Current value of the
entire property? portion you own?

4. Watercraf'tl aircraftl motor homes, A'l'Vs and other recreational vehicles, other vehicles, and accessories

Exampies.‘ Boats. trailers, motors, personal Watercraft, fishing vesseis, snowmobiles, motorcycle accessories

|:.l No
El Yes

4,1_ iVlake:
|Vlodei:
Year:

Other information:

 

 

 

 

if you own or have more than one. list here:

4_2_ lVlake:
Model:
Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ........................................................................................................................ ")

Oflicia| Form 106AIB

Who has an interest in the property? Check one.

n Debtor 1 only

El Debtor 2 only

n Debtor 1 and Debtor2 only

cl At leastone of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check ons.

m Debtor 1 only

m Debtor 2 only

|;l Debtorl and Debtor 2 only

m At least one of the debtors and another

i;i Check if this is community property (see
instructions)

Schedule NB: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured ciaims on Scheduie D.'
Creditors Who Have Ciaims Secured by Propertyl

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D.'
Credr'tors Who Have Ciaims Secured' by Property.

Current value of the Current value of the

entire property? portion you own?

4,900.00

 

page 3

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

newton Hilario Turcious Velasquez

First Name Middle No me Last Name

m Describe Your Personal and Household ltems

Do you own or have any legal or equitable interest in any of the following items?

Case number (irimown)

 

E. Househo|d goods and furnishings
Examples: Major appliancesl furniture. linensl china, kitchenware

UNo

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

 

m YBS. DGSCl'lbO ......... Household Furniture

 

$ 2,500.00 ;

 

 

7. E|ectronics

Examples.' Televisions and radios; audio, video. stereo, and digital equipment; computers. printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

ElNo

 

Yes‘ Describe ~~~~~~~~~ TV Stereo Computer

 

$ 1,500.00

 

 

8. Co||ectibles of value

Examp!es: Antiques and iigurines; paintings, prints. or other artwork; books, pictures, cr other art objects;
stamp, coin, or baseball card collections; other collections, memorabi|ia. coilectib|es
m No

 

Yes. Describe ..........

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
Q. Equipment for sports and hobbies
Examples.' Sports, photographic exercise, and other hobby equipment; bicycles, pool tables. golf clubs. skis; canoes
and kayaks; carpentry tools; musical instruments
l;l No
m Yes. Describe .......... $
1D.Firearms
Examples.' Pistols, rifles. shotguns, ammunition, and related equipment
a No -
m Yes. Descn'be .......... $
11.Clotl1es
Examples: Everyday clothes, furs, leather ooats, designer wear, shoes, accessories
cl No
m Yes. Describe .......... C|Othes $ 30(]_00
12.Jewelry
Examples: Everydayjewe|ry, costume jewelry, engagement rings, Wedding rings, heirloomjewelry. watches, geme,
gold, silver
m No

cl Yes. Describe ..........

 

 

 

§ 13. Non-farm animals
Examples: Dogs, cats, birds, horses

mNo

 

n Yes. Describe ..........

 

 

 

‘M-.Any other personal and household items you did not already list, including any health aids you did not list

mNo

 

n Yes. Give specific
information

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here

 

Officlal Form 106AIB Schedule AIB: Property

 

$ 4,300.00

 

 

............................................................................................................................... 9

page 4

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

mwa Hi|ario Turcious Velasquez

Case number iir)mowni
Flrst Nelne Middle Ns me Lesi Name

 

 

Des¢:ribe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own? _
Do notdeduct secured claims .
or exemptions
16. Cash
Examples: Monoy you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition
m No
Yes ................................................................................................................................................................

Cash: $ 200-00

- 17. Deposits of money
Examples: Checking, savings, or other Financial accounts; certificates of deposit; shares in credit unions. brokerage houses,
and other similar institutions if you have multiple accounts with the same institution, list each.

[;lNo

m Yes ..................... institution name:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

17.1. Checking account: Cha$e $ 1,645.87
1?.2. Checking account $
17.3. Savings account: $
17.4. Savings account $
17.5‘ Certificates ot deposit: $
1?.6. Other financial account: $
17.?. Other financial account $
17,8. Other financial account $
17.9, Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks

Examples: Bond iunds, investment accounts with brokerage iirms, money market accounts

m No

m Yes ................. institution or issuer name:

$

$

$
' 19. Non-pub|icly traded stock and interests in incorporated and unincorporated businesses, including an interest in

an LLC, partnership, and joint venture

m No Name of entity: % of ownership:

El Yes. Give specific O% % $
information about 00/ H
them ......................... ° %

0% %

 

Officia| Form 106AIB Schedule AIB: Property page 5

Case 8-18-75490-ast

newton Hiiario Turcious Veiasquez

DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Case number irriiiwwn)

 

Flrst Name Mlddle Name L.asi Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotr'abi'e instruments include personal checks, cashiers‘ checks, promissory notes, and money orders.
Ncn-negoi‘iabie instruments are those you cannot transfer to someone by signing or delivering them.

mNo

n Yes. Give specific
information about

issuer name:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... $
$
$
21. Retirement or pension accounts
Exanipies: interests in iRA, ERlSA. Keogh. 401(k). 403(b), thrift savings accounts, or other pension or profit-sharing plans
No
[:i Yes. List each
account separatelyl Type cf account institution name:
401(k) or similar plan.' $
Pension pian: $
iRA: $
Retirement account $
Keogh: $
Additional account $
Additionai account $
22. Security deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Exampies:Agreements with landlordsl prepaid rent, public utilities (eleclric, gas. water). telecommunications
companies or others
m No
[] Yes .......................... institution name or individuai:
Eiectric: $
Gas: $
Heating oil: $
Security deposit on rental unit $
Prepaid rent $
Teiephone: $
Water: $
Rented furniture: $
Other: $
23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
m No
n Yes .......................... issuer name and description:
$
$

 

Ofiicial Form 106A/B

Schedule NB: Property

page 6

Case 8-18-75490-ast

Demm Hiiario Turcious Veiasquez

 

Flrst Name M|cid|e Name

Lasi Name

Case number iirinswn)

7 24.lnterests in an education |Rii\l in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1). 529A(b). and 529(b)(1).

m No
i;] Yes ....................................

institution name and description Separateiy lite the records of any interests.ii U.S.C. § 521(0):

DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

 

 

 

exercisable for your benefit

mNo

 

Cl Yes. Give specific
information about them....

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property

ENO

 

l:l Yes. Give specific
information abouithem....

 

 

 

' 27. Licenses, franchises, and other general intangibles

ENO

 

a Yes. Give specific
information about them....

 

 

 

n Money or property owed to you?

28. Tax refunds owed to you

mNo

[] Yes. Give specific information
about them, including whether
you already Hied the returns
and the tax years

29. Famiiy support

Exampies: Past due or lump sum alimonyl spousal support, child suppoit, maintenance, divorce settiement, propeity settlement

MNo

l;l ¥es. Give specific information ..............

30. Other amounts someone owes you

Examp!es: Unpaid wages, disabitity insurance payments. disability benetits, sick pay, vacation payl workers' compensation

 

 

Federal:
Staie:

Loca|:

 

 

 

 

A|imony:
Maintenance:
Support:

Divorce settlement

Property settlement

 

 

Social Securily benefits; unpaid loans you made to someone else

mNo

El Yes. Give specific information ...............

Ochiai Form 106A!B

 

 

 

 

Schedu|e AiB: Property

$
5 25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
$
Exampies: lnternet domain names, websites, proceeds from royalties and licensing agreements
$
Exampies: Bui|ding permits, exclusive licensesl cooperative association hoidings. liquor iicenses, professional iicenses
$

Current value of the
portion you own?
Do not deduct secured
claims or exemptions

69€9%69%9

page 7

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Debtor‘i Hi|ario Turcious Verasquez Case number iirrnnwiii
Fiisi Name Midd|e Name Last Name

 

 

31. interests in insurance policies
Exampies.' i-iealth. disability. or life insurance; health savings account (HSA); credit, homeownersl or renter’s insurance

mile

m Yes. Name the insurance company

_ _ _ Ccmpany name: Beneficiary: Surrender or refund value:
of each policy and list its value.

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneHciary of a living trust, expect proceeds frorn a life insurance poiicy, or are currently entitled to receive
property because someone has died.

mNo

cl Yes. Give specific information ..............

 

 

 

 

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exampies.' Accidents, employment disputes, insurance claims, or rights to sue

ENO

El Yes. Descn'be each claim. ....................

 

 

 

 

- 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
' to set off claims

No
m Yes. Describe each ciaim.

 

 

 

 

. 35.Any financial assets you did not already list

mNo

Cl Yes. Give specific information ............

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ................................................................................................................................................. 9 $ 1 =845-87

 

 

 

g Describe Any Business-Related l’ropeirty ‘{ou Own or l-Iave an interest ln. List any real estate in Part 1.

 

z 37.Do you own or have any legal or equitable interest in any business-related property?
m No. Go to Part 6.
E| Yes. eo io iine 3a

Current value of the
portion you own? _
Do not deduct secured claims j
or exemptionsl

: 3B.Accounts receivable or commissions you already earned

m No
m Yes. Describe ......

 

 

 

 

 

$
§ 39. Office equipment, furnishings, and supplies
` Exampies.' Business-re|ated computers, settware, modems, printers, copiers, fair machines, rugs, telephones desks, chairs, electronic devices
m No
m Yes. Describe ....... $

 

 

 

Ofiiciai Form 106AIB Schedule NB: Property page 8

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

meme Hiiario Turcious Ve|asquez ease number U,,mm,
Firsi Name M|ddie Name best Name

 

 

40. Machinery, fixturesl equipment, supplies you use in business, and tools of your trade

EHNQ

Cl Yes. Describe ....... §

 

 

 

41. inventory
q No
m Yes. Describe ....... $

 

 

 

 

_ 42. interests in partnerships orjoint ventures

mNo

l:] Ves. Describe ....... Name Of entity: % of ownership:

% $
% $
% $

43. Customer listsl mailing |ists, or other compilations
12 No
m Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C\ § 101(41A))?
\;l No
Ei Yes. Describe ........

 

 

 

 

n 44. Any business-related property you did not already list
q No

m Yes. Give specific
information

 

 

 

 

 

'&9'&56969€9'9§

 

 

7 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

$ O.DO
for Part 5. Write that number here ............................................................................................................................................. -) '_'___‘

 

 

 

Describe Any Farm- and Commercia| Fishing-Related Property You Own or Have an lnterest ln.
if you own or have an interest in farmiand, list it in Part 1.

 

 

: 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
U No. ss to Part r.
\;l Yes. Go to line 47.

Current value of the
portion you own?

Dc not deduct secured claims '

 

or exemptions
§ 47. Farm animals
Exampies: Livestcck, poultry, farm-raised fish
m No
L:l Yes .........................
$

 

 

 

Official Form 106A/B Scheduie AIB: Property page 9

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

named Hiiario Turcious Velasquez

Case number iiriinown)
First Name Middis Name Last Name

 

4B.Crops_either growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m No
cl Yes. Give specific
informationl ............ $
49. Farm and fishing equipment, impiements, machinery, fixtures, and tools of trade
m No
m Yes ..........................
$
50. Farm and fishing suppliesl chemicais, and feed
- 521 No
Cl Yes ..........................
$
51.Any farm- and commercial fishing-related property you did not already list
m No
i;l Yes. Give specific
information ............. $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ O_(]O
for Part 6. Write that number here .................................................................................................................................................... 9
Describe All Property You Own or Have an interest in That: You Did Not Listl Above
53. Do you have other property of any kind you did not already |ist?
z Exampies: Season tickets. country club membership
m No
m Yes. Give specific
informationl ............
f 54. Add the dollar value of ali of your entries from Part 7. Write that number here ................................................................. 9 $ ”_ __0'00
` Part'B:' List the Totals of Each Part of this Form
_; 55.Part 1: Total real estate, line 2 .............................................................................................................................................................. 9 $ 773=753'00
56.Part 2: Totai vehicles, line 5 $ 4=900'00
57. Part 3: Tota| personal and household items, line 15 $ 4'300'00
: 53. Part 4: Totai financial assets, line 36 $ 1 1345'87
59. Part 5: Totai business-related property, line 45 $ 0'00
§ co.Part 6: Total farm~ and fishing-related property, line 52 $ 0'00
61.Part 7: Total other property not listed, line 54 + $ 0'00
62. Total personal property. Add lines 56 through 61. 5 1 1'045'87 Copy personal property total 9 '+$ 11,045.87
- sa.roiai oraii property on schedule AiB.Add ins ss + line 62 $ 784»793-37

 

 

 

Officia| Form 106A/B Schedu|e AiB: Property page 10

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entered 08/14/18 16236:51

Fi|l in this information to identify your\case:

mme Hllario Turcious Ve|asquez

Flrsl Na me Mlddla Name Lost Name

 

Debtor 2
(SDOUSB. iflillng) Firsti\len\e Middle Name LastName

 

United States Bankruptcy Court forthe: Eastern District of New York

Cna|se number n Check if ll'iiS iS art
l "°W“) amended filing

 

 

 

Official Form 1060
Schedule C: The Property You C|aim as Exempt ellis

Be as complete and accurate as possible |f two married people are Hling together, both are equally responsible for supplying correct information

Using the property you listed on Schedule A/B.' Property(Of'licial Form 106NB)as your source, list the property that you claim as exempt |f more
space is needed, H|l out and attach to this page as many copies of Pari 2.' Addr'tional Page as necessary. On the top of any additional pages. write
your name and case number(if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively. you may claim the full fair market value_of the property being exempted up to the amount
of any applicable statutory |imit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property \’ou Clalm as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing With you.

M You are claiming state and federal nonbankruptcy exemptionsl 11 U.S.C. § 522(b)(3)
l;l You are claiming federai exemptionsl 11 U.S.C. § 522([))(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Erief description of the property and line on Current value of the Amount of the exemption you claim Speciflc laws that allow exemption _

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedu!e A/B
§;'§;ripuon: 60 E Meadow Ave $ 413,336.00 m $ cPl_R 5205(3)
Line from El 100% of fair market value, up to
Schedu,re A/B_. 'l.'l any applicable statutory limit
§;':;,ipuon; w $ 355,417.00 g $ CP|_R 5205(3)
Line from l 2 m 100% of fair market value, up to
Scheduie A/B_- 7 7 7 7 7 7 any applicable statutory limit n n n n
Brief
descriptions _ $ m $
Line from l:l 100% affair market value, up to

 

Schedule A/B_- any applicable statutory limit

3. Are you claiming a homestead exemption of more than $150,375'?
(Subject to adjustment on 4l01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

MNo

\:l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

w No
m Yes

Offlcial Form 1060 Schedu|e C: The Property You C|aim as Exempt page 1 of_2_

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Elitei’ed 08/14/18 16236:51

Hilarlo Turcious Velasquez

Flrsl Name Middle Name last Name

Additiona| Page

Debtor 1 Case number criminal

 

Brief description of the property and line
on Schedule A/B that lists this property

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

Speclfic laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
E§§§,ipuom M $ 4,900.00 g $ Debi& Cred 282(1)
Line from 3 [:.l 100% of fair market value, up to
Schedule A/B__ m any applicable statutory limit n nn _- n
;Bl;‘setf:ription: Fumiture $ 2.500.00 El $ CP|-R 5205
Line from 6 [:l 100% of fair market value, up to
Schedu!e A/B,- w any applicable Statutory limit
§§;;ription_ Eiecironics $ 1,500.00 g $ CP'-R 5205
Line from 7 l:l 100% of_fair market value. up to
Schedu!e A/B,- m , any applicable statutory limit
§;‘§§ription, clothes $ 300_00 n $ oPLR 5205
Line from ‘l 1 n 100% affair market value, up to
Schedule A/B_' _ _ _ __ any applicable statutory limit n n _ n
E§§;,iption. C'=ish $ 200.00 g $ Debi & cred 233(2)
i_ine from n 100% of fair market value, up to
Schedule A/B: E-~ any applicable statutory limit
§;i§;ripuon. checking $ 1,645.87 g $ Debi & C'”ed 233(2)
Line from 17 Cl 100% of fair market value, up to
Schedule A/B: ”_ any applicable statutory limit
Brief
description: $ [:l $
Line from n 100% of fair market value, up to
sheets A/B.: _ _ _ _ ___t‘"¥ tpp"‘?f'=‘b‘e itail_°l¥ "_'_`""
Brief
description: $ n $
Line from l;l 100% of fair market value. up to
Schedule A/El: __ any applicable statutory limit
Brief
description: 5 l;l $
Line from l;l 100% of fair market value. up to
Schedu!e A/B.' T any applicable statutory limit
Brief
description: $ m $
Line from l;l 100% cf fair market value. up to
ScheduleA/B_:_ _ ally-applicable- statutory limit n
Brief
description: $ cl $
Line from m 100% of fair market value. up to
Schedule A/B: _-»- any applicable statutory limit
Brief
description: $ l;l $
Line from El 100% of fair market value, up to
Schedule A/B: m any applicable statutory limit

Oflicia| Form 1060

Schedu|e C: The Property You C|aim as Exempt

 

page _2___ Of §

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18

t Fil|l-in this information to identifylyour C€is'e:

Hllario Tuircious Ve|asquez
Mli:ld|e Name

Debtor1

 

F list Na me Lest Name

Debtor 2
(Spouse, lt lillng} Firsl Name

 

Middle Name Last Name

United States Bankruptcy Court for the: EaSlel’n DiSiriCl Of NSW YOrk

Case number
llf known]

 

 

 

Olficia| Form 106D

Schedule D: Creditors Who Have C|aims Secured by Property

Elii€i’ed 08/14/18 16236:51

El cheek iiihie ie en
amended filing

12115

Be as complete and accurate as possib|e. lf two married people are filing togetherJ both are equally responsible for supplying correct
information. lf more space is needed, copy the Additiona| Page, fill it out, number the entriesl and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

U No. Check this box and submit this form to the court with your other schedulesl You have nothing else to report on this form.

n Yes. Fill in all of the information below.

m List nil secured claims

 

As much as possible, list the claims' in alphabetical order according to the creditor's name.

2. List all secured claims ita creditor has more than one secured claim list the creditor separately 'Am°unt of claim
for each claim. |f more than one creditor has a particular claim, list the other creditors' in Part 2.

 

Column 'A § Column B i- ` c "§' Column C

' Value of collateral *Unsecured
no mt dedu¢i;he that supports this portion
value of collateral. - C|ail_'f\ f .

131 Chase Mortgage

 

Creditor’s Name

10790 Rancho Berna

 

296 243. 00 `$ 320 soc 00 $

Describe the property that secures the clalm: $

 

 

 

60 East l\/leadow Avenue
East |Vleadow. NY 11554

 

 

 

 

Who owes the debt? Check one.

U Debtor1 only

m Debtor 2 only

ll Debtor1 and Debtor 2 only

El At least one of the debtors and another

n Check if this claim relates to a
community debt

Date debt was incurred 08/01/020[:

Nurnber Street
SarlDiego CA 92127
cily state ziP code

As of the date you file, the claim is: Check all thatapply.
l;] Contingent

U unliquidated

l:l Dlsputed

Nature of llen. Check all that apply.

w An agreement you made (such as mortgage or secured
car loan)

El Statutorylien (such as tax lien, mechanics lien)

El Judgment lien from a lawsuit

l;l Olher (including a right to offset}

Last4 digits of account number£ 3 __1_ __Q_

 

g Bayview Loan Servicing

 

Cred|tor’s Name

4425 Ponce De Leon Blvd

302,378.00 $ 240,000.00$

Describe the property that secures the claim: $

 

 

 

55 Tennesse Avenue
Hempstead. NY 11550

 

 

 

 

Who owes the debt? Check one.

g Debtor1 only

m DebtorZonly

m Debtor1 and Debtor 2 only

El At least one of the debtors and another

a Check if this claim relates to a
community debt

Date debt was incurred 08101/020€

Number Streel
Cora| Gables FL 33146
City State ZlP Code

As of the date you file, the claim is: Check all that apply.

El Contingent

n Un|iquldated

El Disputed

Nature of lien. Check all that apply.

El An agreement you made (such as mortgage or secured
car |oan)

El Statutory lien (such as tax lienl mechanlc’s llen)

El .ludgment lien from a lawsuit

cl Other (lni:ludlng a right to offset)

_O_O

Last 4 digits of account number _3 _1

 

 

Add the dollar value of your entries in Column A on this page. Write that number here:

|e_aaa,czloo|

 

Ol'r`lcia| Form 1060

Schedu|e D: Creditors Who Have Claims Secured by Property

page 1 of3_

_',lfarly' _' r`-

 

 

Case 8-18-75490-ast

Debtor 1

Hllarlo Tuircious Velasquez

DOC 1 Filed 08/14/18 Entered 08/14/18 16236:51

Case number (irimuwnl

 

First Name Mlddlo Name

Lest Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Additi°na| rage §olumntAf l l C`Z’ol|umn? " t l L(.;‘oi't.lmri Cd
- . . . . . . _ moun o ca rn aueo co a era nsecur
` l After listing any entries on this page, number them beginning with 2.3, followed DD nut deduct the that supports this portion .e
_ 1 by 2-4- and so f°""‘- value of_t~.aliateml. claim _ _ . . ifany
. ChaSe Describe the property that secures the claim: $ 48'894'00 $ $
Creditor's Name
10790 Ra"ChO Bema 55 Tennesse Avenue, Hempstead, NY
NumbBr Stl'€el 1 1 5 50
As of the date you file, the claim is: Check all that epp|y.
SEln DiegO CA 92127 l:.l Contlngent
City State Z|lJ Code Un|iquldated
n Dlsputed
Who owes the debt? Check one. Nature of llen, Check all that apply.
q Debtor1 °n|ll m An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
[:| Debtor1 and Debtor 2 only L__l Statutory|ien (such as tax lien, mechanics |ien)
[;l At least one of the debtors and another m 31dean lien from 3 lawsuit
n Other [includ|ng a right to offset)
m Check if this claim relates to a
community debt
Date debt was incurred 08/01/020[ Last4 digits of account number __§ _4 __6__ j
._._| Describe the property that secures the claim: $ $ ii
Creditor's Name
Number Slreet
As of the date you file, the claim is: Check all that apply.
n Conll'ngent
i.'..`| unliquidated
City State ZlP Code |J D[Sputed
Wh° owes the debt? Check One' Nature of lien. Check all that app|y.
n Debtor1 only n An agreement you made (sucl'i as mortgage or secured
n Debtor 2 Unly ear ]gan)
C| Debtor 1 and Debtor 2 0an El statutorylian rauch as tax llen, mechanics lien)
El At least one of the debtors and another |;l Judgment lien from a lawsuit
El check ir this claim relates to a m Other (’"°'ud'"g a "gm t° °Hset)
community debt
Date debt was incurred Last 4 digits of account number _ _ __
Describe the property that secures the claim: $ $ $
Credilor’s Name
Number Stroot
As of the date you file, the claim is: Check all that app|y.
|;] Contlngent
city slate ziP code |;l Unltquldated
\;l Disputed
Who owes the debt? Check On@- Nature of lien. Check all that applyl
L_-l DeblOl'1 On|li' t:l An agreement you made (such as mortgage creecured
El Debtor 2 only car loan)
m Debtor1 and Debtor2 On|y l;.l Statutory lien (sul:h as tax llen, mechanlc‘s llen}
El At least one ct the debtors and another m JUd§|menl "*3" from 3 lawsuit
n Other (inc|uding a right to offset)
Cl check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number _ _ w
Add the dollar value of your entries in Column A on this page. Write that number here: $ 598,621.00
lf this is the last page of your form, add the dollar value totals from all pages. 6 00
am "._mmwmtrtethathumoe__r,hereto mm tl'_m§'_
Oflioial Form 1060 Additiona| Page of Schedu|e D: Creditors Who Have C|aims Secured by Property page gw of3_”

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entered 08/14/18 16236:51

Debtor1 Hi|ario Tuircious Ve|asquez

Flrsl Name M|clci|a Name Laat Name

must Others to Be Notifiod for a Debt 'l’hat You Already l,.is‘ted

Case number (ir.knwm)

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed ln Part 1. For examp|e, if a coilection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Siml|ar|y, if
§ you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to
j be notified for any debts in Part1, do not fill out or submit this page.

 

 

 

 

|:| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _ __ _
Number Street
City State ZlP Code

 

 

 

 

 

On which line in Part 1 did you enter the creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Last 4 digits of account number__ _ __
Number Street
City State ZlP Code
l On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number _ _ w
Number Street
City State Z|P Code
|: On which line in Part1 did you enterthe creditor?
Name Last 4 digits of account number _§_ mg_ _1 _O_
Number Street
City State ZlP Code
On which line ln Part 1 did you enterthe credltcr?
Name Last4 digits of account number_ _ m d
Number Street
City State Z|P Code
|__| On which line |n Part 1 did you enter the creditor‘?
Name Last 4 digits of account numberHm _ ___ _
Number Street
City State ZlP Code

thcia| Form 106D

 

 

 

 

Part 2 of Schedu|e D: Creditors Who Have C|aims Sccured by Property

 

 

page §_ Of 3__

Case 8-18-75490-ast

`__Fil| in this information to ide_nti`fy-yo.ur\case:i

  

Debtor1 Hiiario Turcious Ve|asquez

DOC 1 Filed 08/14/18

    

 

First Name Midcile Name

 

  

Debtor 2

LastName

     
  

 

(Spouse. if iiiing) Flisi Name Middl- Namu

 

Case number

United States Bankruptcy Court forfhe: Eastem District of New York

Last Name

  
    
   

 

(lf known)

 

 

 

Otficial Form ’iOGE/F

 

Scheduie EIF: Creditors Wi'ro Have Unsecured C|aims

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedul'e
A/B: Property(Official Form 106NB) and on Schedule G.' Executory Confracts and Unexpired Leases (Otficial Form 1066). Do riot include any
creditors with partially secured claims that are listed in Scheduie D: Credr'tors Who Have Ciaims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the leFt. Attach the Continuation Pa¢e to this page. On the top of
any additional pages, write your name and case number (if known).

m List Ail of ¥our' PR|OR|TY Unsecured C|aims

1. Do any creditors have priority unsecured claims against you?

w No. Go to Part 2.
n Yes.

Eiii€l’ed 08/14/18 16236:51

El check if this is an
amended i"iling

12!15

` 2. List all of your priority unsecured ciaims. ita creditor has more than one priority unsecured claim, list the creditor separately for each claim. For

- each claim listed, identify what type of claim it is. ita claim has both priority and nonpriority amounts. list that claim here and show both priority and
nonpriority amountsl As much as possib|e, list the claims in alphabetical order according to the creditor’s name. if you have more than two priority
unsecured cia|ms, fill out the Continuation Page of Part 1. if more than one creditor holds a particular cia|m, list the other creditors in Part 3.

 

 

 

 

 

 

(For an explanation of each type of ciaim, see the instructions for this form in the instniction booklet.)

 

 

 

 

Priority Crediior's Name

 

Number Siroet

 

 

Cityl State Z|Fl Code

Who incurred the debt? Check one.

L_...l Debtor1 only

l;l Debtor 2 only

n Debtor1 and Debtor2 only

o At least one of the debtors and another

 

Cl Check if this claim ls for a community debt

ls the claim subject to offsat?

C|No

Ofiicia| Form iOGE/F

When was the debt incurred'?

As of the date you file, the claim is: Check all that apply
l;l Cont|ngent

a Un|iquldated

m Dispuled

Type of PR|OR|TY unsecured claim:
El Domestlc support obligations
[;l Taxes and certain other debts you owe the government

\;l C|aims for death or personal injury while you were
intoxicated

El Other. Specify

 

Schedu|e EIF: Creditors Who Have Unsecured C|aims

Total claim Priority N_onpriority
amount amount
2.1
Last 4 digits ot account number m m_ _ $
Priority Creditor`s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that appty
ciiy sicic ziP ccdc m C°"ti"ge“t
_ ill unliquidated
Who incurred the debt? Check one. m Disputed
n Debtor1 only
[;l Debtor 2 only Type of PR|OR|T¥ unsecured ciaim:
g Debtor1 and Debtor2 only cl Domestic support obligations
At least One of the debtors and another E] Taxes and certain other debts you owe the government
a Check 'f mls °|a'm is for a community debt n C|aims for death or personal injury while you were
is the claim subject ic casci? '"t°>"°a‘€d
Ei Nc El oihcr. specify
m Yes
2-2 l Last 4 digits cf account number w __ __ $

 

page 1 of §_

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

Hilario Turcious Velasquez
F|rst Name li.illddla Name

Debtor1

Case number rrrrncwnl

 

 

Lasi Na me

: Your PR|OR|TY Unsecured C|aims _ Contirluation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3 After listing any entries on this pa|e, number them beginning with 2.3, followed by 2.4, and so forth. Tota| claim Priority Nonpriority
j amount amount
f Last 4 digits of account number _ _ ___ ___ $ $ $
Priority Creditors Name
When was the debt |ncurred?
Number Streol
As ot the date you tilel the claim is: Check all that apply.
l;l Cont|ngent
oily since zlP cadc Cl Un|iquidated
a Disputed
Who incurred the debt? Check one.
Cl Debtor1 only Type of PR|OR|TY unsecured claim:
Ci D br 2 l
a or on y El Domostic support obligations
El Debtor1 and Debtor 2 only _
cl Taxes and Cortaln other debts you owe the government
m At least orie of the debtors and another n .
C|alms for death or personal injury while you were
L_..l Check if this claim is for a community debt '"mx'°aled
l:i Other. Specify
_ ls the claim subject to offset?
cl No
§ m Yes
1 Last4 digits of account number wm m __ _ $ $ $
" Priority Creditor’s Name
When was the debt incurred?
Numbar Slreet
As of the date you file, the claim is: Check all thatapply.
El Coniingent
clly stale zlP code l;l Un|iquldated
El Disputed
Who incurred the debt? Check one.
El Debtor1 only Type of PRiOR|TY unsecured claim:
n Debtor 2 On|y m Domeslic support obligations
n Debtor1 and Debtor 2 only
n Taxes and certain other debts you owe the govemment
l;i At least one of the debtors and another n . _
C|aims for death or personal injury while you were
l;l Check if this claim is for a community debt '"t°xi°ated
l;l Other. Specify
is the claim subjectto otiset?
n No
m Yes
' Last 4 digits of account number … ___ _ __ $ $ $

 

Prioriiy Creditor's Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

l;l Debtor1 only

n Debtor2 only

El chinri and Debtor zdnly

l:l At least one of the debtors and another

l;l Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

 

 

thcial Form 106Ei`F

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

El Contingent
E] unliquidated
El Disputed

Type of PR|OR|TY unsecured claim:

Dornestic support obligations
Taxes and certain other debts you owe the government

C|aims for death or personal injury while you were
intoxicated

 

 

ij E|:|U

Other. Specify

 

Schedu|e EIF: Creditors Who Have Unsecured C|aims

page _W of _

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Debtor1 Hilario Turcious Ve|asquez ease numbert,.,h,mwm
First Name M|dd|e Name Lest Ne me

 

 

List All of Your NONPR|BR|T¥ Unsecurecl C|aims

 

 

3. Do any creditors have nonpriority unsecured claims against you?

l:l No. You have nothing to report in this pert. Submit this form to the court with your other schedulesl
Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
‘ nonpriority unsecured claim, list the creditor separately for each claim. For each claim listedl identify what type of claim it is. Do not list claims already
included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more then three nonpriority unsecured
claims fill out the Cont|nuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_N__Té'_al_¢__'a'tt\__ ,_ ___
_Il Chase Last 4 digits of account number__§_ 1 § _8_ 48 894 00
Nonpriority Creditor's Name 08/01]2005 $_’__§
10790 Rancho Bema When was the debt lncurred?
Number Street
San Diego CA 92127
city state ziP code As of the date you file. the claim is: Check all that apply.
n Contingent
Who incurred the debt? Check one. Un|iquidawd
w Debtor 1 only Cl Disputed
l;l Debtor2 only
Cl Debtor1 and Debtor 2 only Type of NONPRIOR|TY unsecured claim:
Cl At least one ot the debtors and another jj Studem loans
[;| Check if this claim is for a community debt i;l Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
is the claim subject to offset? l;l Debts to pension or profit-sharing plans, and other similar debts
m NO M other specify Second I\/|ortgage
ij res
42 | NMAC Last 4 digits of account number _0 _0 _0 _'l_ $_M§
§ Nonpriority Creditor‘s Name When WES the debt lncLlrl'ECi? 09/01/2006
PO Box 660366
Numtier Street
Da"a$ TX 75266 As of the date you file, the claim is: Check all that apply.
City State ZlP Code n Comingem
Who incurred the debt? check one U' Un|iquidated
g Debtor 1 only l;l Dlsputed
El Debtor2 only R| _
m Debtor1 and Debtor 2 0an Type of NONPR|O TY unsecured claim.
El At least one ot the debtors and another l;l Student ioans
_ _ _ _ l;i Obligations arising out of a separation agreement or divorce
El Check if this claim is for a community debt that you did not report as priority C|aims
ls the claim subject to offset? El Debts to pension or profit-sharing plans, and other similar debts
iii rio Ei other specify Auto Loan Charqe Off
n Yes
4.
_ 3 l Cl‘laSE! i_ast 4 digits of account number _2 _2 _g _Q 1 404 00
Nonpriority Creditor's Name 04[01/2006 $__,'§_
When was the debt incurred?
PO Box 15298
Number Street
Willmington DE 19850
City mate zlp Code As of the date you file, the claim is. Check atl that apply.
who incurred the debt? check end l:l G°'_‘t'"ge"l
m D m 1 l ij Un|iquldated
e ar on y l.:l D|sputed
n Debtor 2 only
l;l Debtor1 and Debtor 2 only Type of NONPR|OR|T\' unsecured claim:
l;] At least one of the debtors and another
Cl Student loans
l;l Check if this C|aim lS for a Commu"iiii debt El Ob|igations arising out of a separation agreement or divorce
ls the claim Subject to offset? that you did not report as priority claims n
m No El Deth to pension or profit-sharing pians_, and other similar debts
m Y M other specify Consumer Credit Transaction
es

 

 

Oiiicia| Form 106Ei'F Schedule EIF: Creditors Who Have Unsecured C|aims pagez_ of5_

Case 8-18-75490-ast

|-lilario Turcious Ve|asquez

Debtor 1

 

F|rst Name Mldd|e Name Last Name

 

DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

Case number rfritccwc)

‘ Your NONPR|OR|TY Unsecured C|aims _ Continuatlon Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
§
4'4 t_tdd"tf tb8564
DSNB Macys as igi s o accoun num er __ ___ ___ _ $ 364_00.
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 8113
T\';[“;’;'On St'°€' OH 45040 Ac ofthe date ycu filc, thc claim is: cliccl< all thatapply.
guy state ziP cadc L] contingent
la Un|iquldated
Who incurred the debt? Check one. |;| Disputed
q Debtor1 only
U Debtor 2 only Type of NONPR|OR|T¥ unsecured claim:
Ei Debtor1 and Debtor2 only m Studem loans
l:l Al least one ofthe debtors and another l;l Ob|igations arising out of a separation agreement or divorce that
l;l Check if this claim is for a community debt you did nol raped as pm_mly Cl`§“ms
l;l Debts to pension or profit-sharing plans, and other sln'i||ardebts
is inc claim subject to offset? E Other, gp.-y;ffy Cohsurner Credit Transaction
g No
l:l Yes
unified cca i_Lc cic Mullcy, .lci=frcy, Rocncy & Flyn Las*“‘“g'*$ °' ac°°""" ““'“*"" i i l l $__L-_-lo 152-00_
Nonpriority Creditor's Name §
. . When was the debt lncurreci? 02/01/2014
6851 Jerlcho Turriplke
Number Street
As of the date ou file the c|a'm is: Ch k ll th t l _
sycscci NY l 1797 y ’ ' e° a a "“""'
City slate zlP code |,'.,'.] Ccntingcnt
m unliquidated
Who incurred the debt? Check one. m Disputed
q Debtor1 only
l;l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Studenuoans
Al least one °l the debtors and another l;l Obligattons arising out of a separation agreement or divorce that
LII check if this claim is for a community debt you did "°l re‘_’°'l as p"°"ty °'F‘""S _ _
n Deth to pension or profit~sharlng p|ans. and other similar debts
is the claim subject tc cnsct? M Other gpecffy Consumer Credit Transaction j
di nc l
l;.i Yes
4_6| y
Last 4 digits of account number _ ___ _ `
Nonprlority Creditors Name
When was the debt incurred?
Number _ Slreel As of the date you file, the claim is: Checkail that app|y.
City Slala ZlP CDdB n an’[inggnf

Who incurred the debt? Check one.

Ei Debtor1 only

l._.l Debtor2 only

l;l Debtor1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

 

Ofiicia| Form 106E!F

Schedule El'F: Creditors Who Have Unsecured C|aims

l;l Un|iquldated
El Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

l;l Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension orprofit-sharing plans, and other similar debts
l;i Other. Specinr

 

paoo§_ Of 5_

Debtor 1

Case 8-18-75490-ast

Hi|ario Turcious Ve|asquez

DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

Case number (lrlrnownl

 

F|rst Nam-

Middle Name

Last Name

m List Otl\ers to Be Notified About a Debt That ‘(ou A|ready Listed

 

l 5. Usa this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

: example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Sim|larly, if you have more than one creditor for any of the debts that you listed in Parts 'i or 2, list the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): l;l Part1: Creditors with Priority Unsecuried C|aims
Numb@' Sff@€f Cl Part 2: Creditors with Nonpriority Unsecured C|aims
Last 4 digits of account number_ _ _
City Staxioew_~r ZlP Codeb _ H
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Cneck one): Cl Part 1: Creditors with Priority Unsecured C|aims
Nu"‘b°i S“ee‘ l;l Part 2: Creditors With Nonpriority Unsecured
C|aims
Last 4 digits of account number _ _ _____
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): L_.l Part 1: Creditors with Priority Unsecured C|aims
N"mh@' St"iel l;l Part 2'. Creditors With Nonpriority Unsecured
C|aims
Last 4 digits of account number _ _ _
City State zlP code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
N'J'“b*" S"e‘if El Part 2: Creditors With Nonpriority Unsecured
C|aims
Last 4 digits of account number ___ w H_
City state lel code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured C|aims
Numb°r S“a°‘ C;l Part 2: Creditors with Nonpriority Unsecured
C|aims
Last 4 digits of account number _ _ _
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check orle): ill Part 1: Creditors with Priority Unsecured C|aims
N“mbei Streel Cl Part 2: Creditors with Nonpriority Unsecured
C|aims
Last 4 digits of account number _ _ _
City State ZlP Code
N On which entry in Part1 or Part 2 did you list the original creditor?
Bl'l'lB
Line of (Check one): l;l Part 1: Creditors with Priority Unsecured C|aims
N h st l
um er rea Cl Part 2: Creditors with Nonpriority Unsecured
C|aims
City zlp Code Last 4 digits of account number m ___ _

Oflicial Form 1OSEIF

State

Schedule ElF: Creditors Who Have Unsecured C|aims

 

erect

Paee‘l_ Oi L

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

Debtor1 Hi|ario Turcious Ve|asquez Case numbe,(,.,,mam,,
Flrsl Name M|ddie Name LasiName

 

 

` Add the Amounts for Each Type of Unsecured C|aim

 

 

n 6. Totai the amounts of certain types of unsecured ciaims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

Total claim
z T°ta| claims 63. Dornestlc support obligations 6a $ O_O()
. from Part 1 Sb. Taxes and certain other debts you owe the
government Sb. $ 0.00
6c. C|aims for death or personal injury while you were
intoxicated Sc. $ {)_()O
6d. Other. Add all other priority unsecured claims.
Write that amount here. Sd. + $ O_O(_)
6e. Total. Add lines 63 through 6d. 6e.
$ 0.00
Tota| claim
Tota| claims 6i. Student loans 6i. $ 0_00
z from Part 2 6g. Obligetions arising out of a separation agreement
or divorce that you did not report as priority
claims 69. $ 0'00
6h. Debts to pension or profit-sharing plans, and other
similar debts ch. $ 0.00
6i. Other. Add all other nonpriority unsecured claims
Write that amount here. 6i_ + 5 65,817.()0

 

6i. Tota|. Add lines 6fthrough 6i. 6i.
$ 65,817.00

 

 

 

Ofncial Form 106E/F Schedu|e EIF: Creditors Who Have Unsecured C|aims page5_ of§_“

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entered 08/14/18 16236:51

`Fil'l in this information to_identify your:case:

Debtor Hiiario Turcious Velasquez

F|rsl Name Mlddla Name Last Name

 

Debtor 2
(SpoUSS l[fi||i‘lg) FirstName lli|idcl|e Name LaslName

 

United States Bankruptcy Court for the: EHSth DiStl’lCt Of NBW YOrk

Case number

(iiknown) n Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

 

Be as complete and accurate as possible |f two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired |eases?
q No. Check this box and file this form With the court With your other schedules You have nothing else to report on this form.
n Yes. Fil| in all of the information bech even if the contracts or leases are listed on Schedule A/B.' Pmperty(Oflicia| Form 106A/B).

2. List separately each person or company with whom you have the contract or |ease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name
Number Street
City State ZlP Code
2.2;?
l
Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

 

_ City State ZlP Code
§2.4§

§ Na me

 

 

Number Slreet

 

'T city stale zii= code

 

Name

 

Number Street

 

City State ZlP Code

Ofiiciat Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of_L

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entered 08/14/18 16236:51

Debtor1 l-li|ario Turcious Ve|asquez ease number (r.,mwm

First Name Mldd|e Nam- Last Name

 

 

- Additional Page if You Have llllore Conti'acts or Leases

Person or company with whom you have the contract or lease What the contract or lease is for

.....,..e

zg§

Name

 

 

Number Street

 

City State Z|P Code

,,».W .. ..-= ._. , - ..‘;=-,.,.'.s,c.w. , ,.~ f. w w was-we ,a/,-a:w` hat .¢::a,rM\@W.Wa-.~H-,c.,e%.“s%m»,e>.sx,y: er ,s_-»,,_`

 

 

NBI'T`|E

 

Number Slreet

 

City State Z|P Code

»~w.w¢. .. .. -,<» - . -¢W¢».-Q»z-z- - -,»e\=~,~s..<e-¢- , '..-~,.,-,

 

 

 

 

 

 

 

Name

 

 

Number Street

 

City State ZlP Code

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

 

Na me

 

Number Street

 

 

 

 

 

City State Z|P Code
2_g , m
mm Name

Number Street

City State Z|P Code

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

 

City State Z|P Code

w - »< ways .am\e~-» -s<,-»».\,ks,¢w_ »:».1~.-»~~ `=swmm\.< v.em.-,N -. » »s~.w-,) reams a s s ,m it ,.,,_ .» .-<,-¢,s¢.~£=,_, .,.._,wi,.{.c,¢c.,¢.,.\,

 

Official Form 1066 Schedu|e G: Executory Contracts and Unexpired Leases page ___ of

Case 8-18-75490-ast

j Fill in this information _to identify your case:

l-ii|ario Turcious Velasquez

First Name Mlddle Name

Debtor 1

Debtor 2

DOC 1 Filed 08/14/18

Las| Name

 

(Spouse. if liling) Firsi Name Middie Name

Last Name

United States Bankruptcy Court for the: EHStern Dlstrict Of New York

Case number

 

(|f knownl

Official Form 106H

 

Schedule H: Your Codebtors

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married people
are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additioria| Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additiona| Pages, write your name and

case number (if known). Answer every question

1. Do you have any codebtors? (if you are filing ajoint case, do not list either spouse as a codebtor.)

El No
m Yes

Ent€red 08/14/18 16236:51

El check iithis is an
amended filing

12115

1 2. Within the last 8 years, have you lived in a community property state or territory? (Cornmimr'ty property states and territories include
Arizona, California. |daho. Louisiana, Nevada. New Mexico, F'ueito Rico, `l`exas, Waehington, and Wisconsin.)

al No. Go to line 3.

m Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

l;lNo

n Yes. ln Which community state or territory did you live?

 

Name of your spouse, former spouse, or legal equivalent

 

Number Slieet

 

City

§ 3. in Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Scheduie D (Official Form 106D}, Schedul‘e E/F (Ofiicia| Form 106EIF), or Schedule G (Of'ficla| Form 106G). Use Scheduie D,

State

ZlP Code

. Fill in the name and current address of that person.

 

 

 

 

 

 

 

 

 

 

 

 

Scheduie E/F, or Scheduie G to fill out Column 2.
Column 1: ¥our codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3_1 . .
l |£::a Boni||a Turcious d Schedu[e D' line 1 2
60 East lV|eadow Avenue til Scheduie EJF. line L
Number Sfreet El Schedu|e G. line
East lVleacloW NY 11554
§ity State ZlP Code _
3.2
El Schedu|e D, line
Name
|;l Schedu|e EIF, line w
N'-'mb‘” S"e"‘ El Schedu|e G. line
_ ciiy sims ziP code
3.3
= El Schedu|e D. line _
7 Name
Cl Schedu|e EIF. line
Number Street m Schedule G, line
Cify.e, t ,, _W,.Wm_ m M._ v._§5$€1£@> w MW~ZL'?,QQFQ,,,,

Ochial Form ‘lOGH

Schedu|e H: Your Codebtors

 

page 1 of'lj

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

 

 

 

Debtor 1 Hilarjo Turcious Velasquez Case number unempl
Firel Name Mirld|e Name Last Name
_ Additional Page to List llllore Codebtors
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

l

 

El Schedule D, line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5 Name
j Cl Schedu|e E/F, line
Nuniber sireei n Schedule G, line
5 ciiy _____ n mSi§,f,,e M,, _ w ,… ZlFL§'='Qs __ …~ .M n m n wm cwa .mm m._~w,, ~ w m
§ Name i;i Schedu|e D, line
§ Cl Schedu|e EIF, line
Number sims |;l Schedu|e G. line
,,,,Qiii__,,_m_ twa ,, …Mw ..msee.. ., m , , wme»,”_zii;ed,.e,, . umwa w ,4
7 Name El Schedu|e Dl line
i;l Schedu|e Ei'F, line
Number street l;l Schedu|e G, line
§ ciiy 7 State zii> code
f
. Name Cl Schedu|e D, line
El Schedu|e E/F, line
Number Street n SChSdLliS G, line
L| city siaie ziP ce_ci_i;.im __
Name [;l Scheduie D, line
|;l schedule Eii=. line
Numher Street m SChedUlB G, line
City siaie zig”coiie _W
d
Name m Schedu|e D, line
El Schedu|e HF. line
Niimber sireei El Schedu|e G, line
__] City State WM ZlP Code
Name El Schedule D. line
ij Schedu|e EiF, line
Number sireei l._.l Schedu|e G, line
E-_l Ci__ty State ZlE die
Name m Schedule D, line
Cl Schedule Ei'Fl line
Number Street m SCiiedLliS G, line
City State ZlP Code

 

Off“icia| Form 'lOGH Schedu|e H: Your Codebtors page __ of_

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Fill in this information to identify your case:

 

Debtor1 l~ii|erio Turcious velasquez

Flrsl Name M|dtl|e Name Last Name

Debtor 2 -
(Spouse. if filing) F|rsl Name M|ddle Name Last Name

 

United States Bankruptcy Court for the: Easlern DiSirici of Now York

Case number Check if this iSZ
(|flmown)
l;l An amended filing

n A supplement showing postpetition chapter 13
income as of the following date:

official Form ioei m
Schedule i: Your income iziis

Be as complete and accurate as possib|e. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with youl do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Emp|oyment

 

 

 

1. Fill in your employment

 

 

information Debtor 't Debtor 2 or non-filing spouse
lf you have more than one job,
attach a separate page with
information about additional Emp|°ym°"t Status w Employed id Emp|°yed
employersl n Not employed El Not employed
include part-time, seasonal, or
self-em lo ed work. .
p y accupation Waiter Server

Occupation may include student
or homemaker, if it applies.

Emp|oyer’s name BKS Bethpage lnC. White CaStie

 

Emp|oyer’s address 356 Broadway

 

 

 

 

Number Street Number Street

Beth page NY 11714

City State ZlP Code City State ZlP Code
How long employed there? 1 1 1 1

m Give Detalls About Month|y income

 

Estimate monthly income as of the date you f'i|e this form. |f you have nothing to report for any |ine, write $0 in the space. include your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers forthat person on the lines

below. if you need more space, attach a separate sheet to this form.

For Debtor1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). |f not paid month|y, calculate what the monthly wage would be. 2. $ 27863700 $ 17466700
3. Estimate and list monthly overtime pay. 3_ + 5 U.OU + 5 O.()O
4. Calculate gross income. Add line 2 + line 3. 4. $ 2368-00 $ 1,466.00

 

 

 

 

 

 

Ofi`icial Form 106| Schedule |: Your income page 1

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

Debtor1 H"ario Turcious Ve|asquez Case number (irimawnl
Firsl Name Midd|e Name Last Name

 

 

For Debtor 1 For Debtor 2 or

 

Copy line 4 here 9 4. $ 2,868-00 iii 1466-00

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $ 'i ,BU0.00 $ 129.68
5b. Mandatory contributions for retirement plans 5b. $ 0.0U $ U.QO
5c. Vo|untary contributions for retirement plans 5c. $ O.UO $ O.DU
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.0U
Se. insurance 55, $ 0.0U $ U.OU
5f. Domestic support obligations 5f. $ O-OO $ U.UO
59. Union dues 59. $ 0'00 $ 0'00
5h. Other deductions. Specify: 5b. +$ U.UO + $ O.UO
6. Add the payroll deductions Add lines 5a + 5b + 5a + 5d + 5a +5f + 59 + 5h. 6. $ 1,800.00 $ 129.68
7. calculate total monthly take-home pay. subtract line 6 from line 4. 7. :ii 1,068.00 $ 1,336.32
8. List ali other income regularly received:
Ba. Net income from rental property and from operating a business,
profession, or farm
Atiach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses and the total $ 2 500 00 $ 0 00
monthly net income. Ba. _’_4~ _~_i"-_
Bb. interest and dividends Bb. $ 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
lnclude alimonyl spousal support, child support, maintenance divorce
settlementl and property settlement Bc. $---M $__0-'01
Bd. Unemployment compensation 8d. $ 0'00 $ 0-00
Be. Socia| Secl.irity ' Be. $ [),OO $ [)_[)()
Bf. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplementa|
Nutrition Assistance Program) or housing subsidiesl
Specify: 8f. $ O.UO $ 0.00
Bg. Pension or retirement income Bg, $ O.UO $ 0.00
8h. Other monthly income. Specify: Bh. + $ O.UO + $ O_OO
9. Add all other income. Add lines 8a + 8b + Bc + 8d + 8c + Bf +BQ + Bh. 9. $ 2,500.00 $ 0.0U
§10.Calcu|ate monthly income. Add line 7 + line 9. 3 568 0 1 33 _
Add the entries in line 10 for Debtor1 and Debtor 2 or non-n|ing spouse. 10. $~;9 + $ ’ 6'32 _ $ 4’904'32

 

 

 

 

 

 

151. State all other regular contributions to the expenses that you list in Scheduie J.

include contributions from an unmarried partnerl members of your househoid, your dependents, your roommates, and other
friends or relatives

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Scheduie J.

 

 

 

 

Specify: 115 + $ O.UO
§12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
' Write that amount on the Summary of Your Assete and Liabilities and Certai'ri Statisticai information if it applies 12. $ 4=904-32
Combined

§ monthly Income
13i Do you expect an increase or decrease within the year after you file this form‘?

No.

 

Ei Yes. Expiain:

 

 

 

Ofncia| Form 106| Schedule |: ‘(our income page 2

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

Fill in this irifotrnation‘to identify your case:

    

Debtor1 Hl`|ario Turcious Ve|as uez _ _ _
FirslNarne ll»l(l:dle Name Lasmame ChSCk if this lSi

Debtor2 El An amended filing

{Spouse. iffi|ing) FlrstNam- Middte Name LestNanle
El A supplement showing postpetition chapter 13
expenses as of the following date:

 

 

United States Bankruptcy Court for the: EESfEri'i DiStrlct Of New York

Case number MM l' Di;)ll YYYY
(|fknown)

 

 

 

Officia| Form 106J
Scheduie J: `Your Expenses 12115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Describe Your Househoid

 

 

1. is this a joint case?

M No. soto line 2.
Cl Yes. Does Debtor 2 live in a separate household?

n No
El Yes. Debtor 2 must fl|e Otficia| Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

2. Do you have dependents? m No
Dependent's relationship to Dependent's Does dependent live
Do not |isl Debtor 1 and d Yes. Fill out this information for Debtor1 °\” Debtor2 399 With you‘i‘
Debtor 2. each dependent...........,............. n
Do not state the dependents Daughter 20 51 N°
names. Yes
Dauohter 14 m N°
Yes
Son 4 n N°
w Yes
n No
n Yes
l:l No
L_.l Yes
3. Do your expenses include g No

expenses of people other than
yourself and your dependents? \;l Yes

m Estimate Your Ongoing lllionth|y Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is ti|ed. if this is a supplemental Scheduie J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

   

such assistance and have included it on Schedule i: Your income (Offlcial Form 106|.) Y°Ul' expenses
4. The rental or horne ownership expenses for your residence. include first mortgage payments and n § n n n § § n n
$ 2,200.00
any rent for the ground or iot. 4.

lt not included in line 4:

4a. Reai estate taxes 43_ $ U.OO
4b. Property, homeowner’s. or renter's insurance 4b. $ U.OO
4c. Home maintenance, repair, and upkeep expenses 4c. $ U.OO
4d. Homeowner's association or condominium dues 4d_ $ U.OO

Ollicia| Form 106.] Schedu|e J: ‘(our E)cpenses page 1

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18

Debtor1 Hliarlo Turcious Veiasquez

1{].
11.

12.

13.
14.

17.

18.

19.

20.

 

Filst Name Middie Name Last Name

. Additionai mortgage payments for your residencel such as home equity loans

. Uti|ities:

ea. Electricily. heat, natural gas
Gb. Water, sewer, garbage collection
Sc. Teiephonel cell phonel internetl satellite, and cable services

Ed. Other. Specify:

 

. Food and housekeeping supplies
. Chiidcare and children’s education costs

. Ciothing, iaundry, and dry cleaning

Personal care products and services
Medicai and dental expenses

Transportation. include gas, maintenance bus or train fare.
Do not include car payments

Entertainment, clubs, recreation, newspapers, magazinesl and books

Charitah|e contributions and religious donations

insurance
Do not include insurance deducted from your pay cr included irl lines 4 or 20.

15a. l_ife insurance
15b. Heaith insurance
15c. Vehicie insurance

15d. Other insurancel Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehic|e ‘i
1Tb. Car payments for Vehicle 2
1?c. Other. Specify:
1?d. Other. Specify:

 

 

Ent€l’ed 08/14/18 16236:51

Gase number (lrl¢nawn:

¥our payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule !, ¥ourlncome (Officiai Form 106|).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your income.

20a Mortgages on other property

20e. Reai estate taxes

20e. Propertyl homeowner's, or renter's insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner‘s association or condominium dues

Ofiiciai Form 106.1 Scheduie J: Your Expenses

Ba.
6b.
66.
Bd.

10.
11.

12.
13.
14.

15a.
1511
15c.

15d.

16.

17a.
17b.
1Tc.

'i`fd.

18.

19.

20e.

20b.

20d.

20e.

‘(our expenses

€E€H-EB€Q€§-€B‘&H€H'€B'$

-59€9‘€&'99

W‘$-€B€Q-

U'EF}'ES-W€B

 

366.00

500.00
70.00

150.00
0.00

700.00
0.00
100.00
0.00
0.0U

200.00

I).OU
0.00

0.00
0.00

150.00
0.00

0.0U

0.00
0.00
0.00
0.00

0.00

0.0U

1,900.00

0.00
0.00
0.00

0.00

page 2

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

Debtor1 Hi|ario Turcious Ve|asquez Case number (lrknown)

First Name lllildd|e Name Last Name

21. Other. Specl'fy:

 

22. Caicu|ate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (month|y expenses for Debtor 2), if anyl from Ofnciai Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expensesl

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule i.
23b. Copy your monthly expenses from line 22c above.

230. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For exampie, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

m No.

21.

22a.

22b.

22c.

238.

23b.

23c.

 

 

 

 

 

 

+$ 0.00
$ 6,336.00
$ 0.00
s 6,336.00

$ 4,904.32

_$ 6,336._00

$ -1,431.68

 

 

 

El Yes. Exp|ain here:

 

 

Of&c|a| Form 106J Schedule J: Your Exponses

page 3

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18

Fill iri thlsinformatlon to_i identity_you'r `case_:

     
      

Debtor1 Hilario Turcious Ve|asquez

Firat Name erld|e Name Last Name

     

  
 

Debtor 2
(SpDLlSS, if l`lling) Flrsl Name Middie Name Lasl Name

 

   
    
   
   

United States Bankruptcy Court for the: Easfel’n DiSil‘icf of New YOrk

Case number
(|f known)

 

 

Officia| Form 107

 

Eni€red 08/14/18 16236:51

El check if this is an
amended filing

Statement of Financiai Ai"l'airs for Indlividuals Filing for Bankruptcy 12115

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

 

1. What is your current marital status?
5a lVlarn'ed
E] Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

MNo

m Yes. List all of the places you lived in the last 3 years, Do not include where you live now.

Debtor 1: Dates Debtor1 Debtor2:
lived there

m Same as Debtor1

 

‘ Give Detei|s About Your Marital Status and Where You Lived Before

Dates Debtor 2
lived there

l:l Same as Debtor1

From

 

 

To

 

 

 

 

State ZlP Code

m Same as Debtor1

From

 

 

To

 

 

 

From

Number Street Number Street
To

City State ZlPCode City

m Same as Debtor 1

Frorn

Number Street Number Streel
To

City State ZlP Code City

State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states end territories include Arizone. California, ldaho, Louisiana, Nevada. New Mexico, Puerto Rico. Texas, Washington, and Wisconsin.)

MNO

[;l Yes. Make sure you ii|| out Scheduie H: Your Codebtors (Ochial Form 106H}.

 

Exp|ain the Sources of Your lncome

Ofiicia| Form 107 Statement of Financial Affairs for lndlviduals Filing for Bankruptcy

page 1

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entered 08/14/18 16236:51

Debtor1 Hi|ario Turcious Veiasquez

Case number (irhnowni
First Name Middie Name Last Name

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fi|i in the total amount of income you received from all jobs and all businessesl including part-time activitiesl
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

El No
Ei Yes. Fill in the details

 

Sources of income Gross income Sources of income Gross income
Check all that appiy. (before deductions and Check ali that app|y. (before deductions and
exciusions) exctusions)
Frorn January 1 of current year until w gugges' °ct’,mmiss'°"$' $ 2,756.39 cl :Vages’ c(t’.mmissions’ $
the date you filed for bankruptcy: Onuses’ 'ps ' onusas' 'ps
n Operaiinga business n Operaiinga business
_ g Wages, commissionsl n Wages, commissionsl
n .
For last cale dar year bonuses, tips $ 20,476.00 bonuses. tips $
(Janl»la"y'i to DeC€mbEl' 31.2WY[11|YE__._ ) m Operat|ng a business El Operating a business
For the calendar year before that w Wages, commissions cl Wages, colmmlssions,
bunuses, tips $ 14’722_76 bonuses, tips $

(Janua'”y1 to D€C‘Smber 31.%) n Operalinga business n Operatinga business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxablel Exampies of other income are aiimony; child support; Social Security,
unemploymentl and other public benefit payments; pensions; rental income; interest; dividends; money collected from iawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 'i.

List each source and the gross income from each source separateiy. Do not include income that you listed in line 4.

MNo

l:.i Yes. Fill in the detai|s.

 

*§a §§‘»w»z sss 7 ` \s .=e
Sources of income Gross income from Sources of income Gross income from
Describe below. each 5°'-' me Describe below. each SWTW
(before deductions and (bofore deductions and
exciusions) exclusions)
From January1 of current year until _~'_““_'"~_ $
the date you filed for bankruptcy:
$

 

For last calendar year:

(January1 to December31,2016 )
YYYY

 

 

For the calendar year before that:

 

(January 1 to December 31 .M)
wi

 

 

Otiiciai Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 2

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entered 08/14/18 16236:51

Debtor1 Hi|ario Turcious Ve'asquez Case number (irr<nuwnl

 

 

First Name Midd|e Name Last Name

List Certain Payments You iiiiade Before You Filecl for Bankruptcy

 

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
m No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
"incurred by an individual primarily for a personall fami|y, or household purpose."
During the 90 days before you ti|ed for bankruptcy, did you pay any creditor a total of $6,225* or more?

[;i No. Go to line 7.

Cl Yes. List below each creditorto whom you paid a total of $6,225* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and aiimony. A|so. do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4i'01i16 and every 3 years after that for cases died on or after the date of adjustment

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you died for bankruptcy, did you pay any creditor a total of $600 or more?

Ei No. co to line 7.
l;l ¥es. List below each creditorto whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
aiimony. A|so, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of Tota| amount paid Amount you still owe Was this payment for...
payment
$ is M
Creditor‘s Name m engage
l;| car
Number Streel n Credit card

m Loan repayment

 

n Suppiiers or vendors

 

 

 

 

City sole zir> code E] oiher
$ $ n Nlortgage
Creditor's Name
[;l Car
Number Slreet n Credit Card

n Loan repayment

 

m Supp|iers or vendors

 

 

 

 

City see zii=coiie El oiler
$ $ n l‘\iiorigage
Creditor‘s Name
m Car
Number Street cl Credit card

m Loan repayment

 

[;l Supp|iers or vendors
m Other

 

City State ZlP Code

 

Ochia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Debtor1

Flnli Name

Mlddle Name

Hi|ario Turcious Velasquez

Last Nam-

Case number rrrr¢imwn)

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider‘?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an oit"lcer, director, person in contro|, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

MNo

l:l Yes. Listal| payments to an insider.

 

 

 

 

 

 

 

 

Dates of Tota| amount Amount you stlil Reason for this payment
payment paid owe

$ $

lnsider's Name

Number Slreet

City State ZlP Code
$ $

lnsider’s Name

Number Streei

City State ZlP Code

 

B. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

MNo

Cl Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

 

 

 

bates of Tota| amount Amount you still Reason for this payment
payment pam °“'° assessmentsname__w.w c c
_ $ $
lnslder's Name
Number Street
City State ZlP Code
$ $
|nsider’s Name
Number Street
City State ZlP Code

Ofiicial Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 4

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Debtor1 Hiiario Turcious Velasquez

Case number (rriiiiuwni
First Name Mlddle Name Last Name

 

identify Legal Actiorls, Repossessions, and Foreclosures

 

 

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases. small claims actions. divorces, collection suits, paternity actionsl support or custody modifications
and contract disputes

MNO

Ei Yes. Fiii in the detaiis.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title own Name l:] Pending
n On appeal
-Nurnber Sireet m Conciuded
Case number
'City State Z|P Code
case true ` `Cou,t Name Cl Pending
` [;l On appeal
:Nurnber St.'eet a CGnCiUdEd
Case number
city siaie ziP code

10. Within 1 year before you filed for bankruptcy, was any of your property repot-‘,sessectl foreciosed, garnishedJ attached, seized, or |evied?
Check all that apply and fill in the details beiow.

M No. Goto line 11.
Cl Yes. Fill in the information below.

Describe the property Date Value of the property

 

Creditor's Name

Number Sireet Explain what happened

 

m Property Was repossessed

 

m Property was foreclosed.
L:l Property was gamished.
city state ZlP Code m Property was attached, seized, or |evied.

 

 

Describe the property Date Value of the property

 

Creditors Name

 

Number Sireet
Explain what happened

Property was repossessed
Property was foreclosed

 

 

P rt was arnished.
City State ZlP Code rope y g

EC||:|E|

Property was attached seized, or levied

Ofiicial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

CaS€ 8-18-75490-38'[ DQC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Debtor1 i-iilario Turcious Ve|asquez case numbeliilimtwn>

 

 

First Name Middie Name Last Name

j 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

wNo

El Yes. Fiir in the detailsl

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor's Name
$
Number Sireet
City State ZlP Code Last 4 digits of account number: XXXX~

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

m No
m Yes

m List Certain Gifts and Sontributiorrs

f 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNo

ill Yes. Fill in the details for each gift

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
. $
Person to Whom You Gave the Gift
$
Number Slreet
City State ZlP Code
Perscn's relationship to you
Gifts with a totai value of more than $600 Describe the gifts Dates you gave Value
Pel' PB|'S°¥\ __ 4 M_______________ __W_MMJ the gifts
. $
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZlP Code

Person's relationship to you

Ochial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

Debtor1 Hi|ario Turcious Ve|asquez

Case number (iflmnwn:
Firsi Name M|dd|e Nslne Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

mNo

Ei Yes. Fill in the details for each gift or contributionl

Gift.s or contributions to charities Describe what you contributed

 

Date you Va| ue
that totai more than $600 contributed
. z § W $
Charliy's Name : .
$

 

 

Number Sireet

 

City State ZlP Code

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for hankruptcy. did you lose anything because of theft, firel other
disaster, or gambling?

MNo

Cl Yes. l=lil in the detalis.

Describe the property you lost and Describe any insurance coverage for the loss Date of your

 

Value of property
how the loss occurred loss lost
include the amount that insurance has pa|d. List pending insurance
claims on line 33 of Schedu!e A/B: Property.
3

List Certain Payments or Transfers

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy
El No
E Yes. Fill in the details

_ Descripticn and value of any property transferred Dale payment or Amount of payment
Kafi H&il'i'l§ transfer was

Perscn Who Was Paid , __ o ...."... . , ~, ,i made

41 i-ii|ton Avenue §CheCi<
Number Street ' 07/20/2018 $”__M

 

 

 

l-iempstedd NY 11550

City State Z|P Code

kharris|allv@gmai'|.com
Email or website address

 

 

Person Who Made lhe Payment, ii Net ¥ou

 

 

 

Ofiiciai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

 

 

 

 

 

 

Debtor 1 H||arlo TUFC|OuS Ve|asquez Case numberiirknewni
First Name Middla Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

Persen Who Was Paid
$

Number Street
$

 

 

l City State ZlP Code

 

Email or websiie address

 

Perscn Who Made the Paymeni. if Not You

11. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment ortransfer that you listed on line 16.

MNo

Ci Yee. Fill in the deteile.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
~ M,, ,” MM n y m made
Perscn Who Was Paid
Number Street $
$

 

 

City State ZlP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, otherthan property
transferred in the ordinary course of your business or financial affairs'i’
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement
M No
El ‘(es. Fill in the detai|s.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Nu miner Street

 

 

City State ZlP Code

Person‘s relationship to you

 

Person Who Receiveti Transfer

 

Number Sireet

 

 

City State ZlP Code

Person’s reiationship to you

Ochia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entel’ed 08/14/18 16236:51

Debtor 1 Hi|ario Turcious Ve]asquez Case number lirraewa)

Firsi Name ili[ltidln Name Last Name

 

 

19.Within 10 years before you filed for bankruptcyl did you transfer any property to a self-settled trustor similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

mNc

Cl vee. Fill in the deteile.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

_, P'a`rt th List certain Financial Aceounts, lnstruments, Safe Deposit Boxos, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your beneiit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutionsl

MNo

El Yes. Fill in the detaile.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, so|d. moved, closing or transfer
or transferred
N m fFl nt:la| lnst`t ti
a e o na l u on xxxx_ n Checking $
Number Street m savings

m Money market

 

n Brokerage

 

 

 

City State ZlP Code a other
X)()()(- __ n Checking $
Name of Financial Institution
n Savings
Number street n Money market

n Brokerage
n Other

 

 

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcyl any safe deposit box or other depository for
securitiesl cashl cr other valuables?

n No
ill Yes. Fill in the details

 

 

 

 

 

 

Who else had access to it’¢‘ Describe the contents Do you still
”,, ~....._...._..._. _,w,_ 4 m y M,, , __ have lt?
m No
Name of Financial institution Name cl Yes
Number S"°et Number Street
City State Z!P Code

 

 

City Statu ZlP Code

Official Form 107 Statement of Financial Affa|rs for individuals Filing for Bankruptcy page 9

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Debtor 1 Hi[ario Turcious Ve[asquez Case number (irleiewn)

Flrst Name Midr!lo Name Last Name

 

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy‘?
No
EJ Yes. Fill in the detaile.

 

 

Who else has or had access to it? Describe the contents Do you still
_ have it?
§ cl No
Name of Storage Facllity Name ; n yes
Number Streot Number Street

 

cli.-ystete zlP code

 

Clt_y S_tate ZlP Code

 

' n identify Property You l-lold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
No
El Yes. l=ill in the details

Where is the property? Describe the property Value

 

Owner's Name ' $

 

" ' Sll'elt

 

Number Slrcei

 

 

 

City State ZlP Code

 

City State ZlP Code

 

 

: l"a:u_'t'l't):-il Givia Detalls About Environmental information

 

 

For the purpose of Part 10, the following definitions apply:

. s Errvr'ronmentai law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

' is Sr'te means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize itl including disposal sites.

s Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know ahout, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

mNo

Ei Yes. Fill in the detaile.

Governmenta| unit 7 rir'-.`rnvironmental l_aw_,__i_f_yo_u_i_tnow it 7 Date of notice

 

Name of site Govern mental unit

 

 

Number Street Number Streei

City State ZlP Code

 

 

City State ZlP Code

Ochial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18 Entei’ed 08/14/18 16236:51

Debtor1 Hi|ario Turcious Ve|asquez Case number(lrlmaw.q)

Flrst Name Mld¢ile Name Last Name

 

 

25. Have you notified any governmental unit of any release of hazardous material?

MNo

ill ves. Fill in the details

 

 

Governmental unit Env|ronmental iaw, if you know lt Date of notice
Name of site Govemmental unit
Number Srreet Number Street

 

City State ZlP Code

 

Cityl State ZlP Code

26. Have you been a party in any]udicial or administrative proceeding under any environmental |aw'? include settlements and orders.

MNo

El Yes. Fill in the details

 

 

 

 

Court or agency Nature of the case status of the
case
Case title n 7
Court Name Pendm'
n On appeal
Number Street cl Conciuded
Cas° number city sine zll= code

lee Betalls About Vol.lr Business or Connections to Any lusilnoss

 

 

27. Within 4 years before you filed for bankruptcyl did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
\:l A member of a limited liability company (LLC) or limited liability partnership (LLP)
l;l A partner in a partnership
n An officer, director, or managing executive ofa corporation

g An owner of at least 5% of the voting or equity securities of a corporation

M No. None of the above applies. Go to Part 12.
n Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Emp|oyer identification number
__ Do not include Social Security number or |TlN.

 

Buslness Name

 

EIN: -

Number Street

 

Dates business existed

 

From ________ To

 

City 7 State ZlP Code

Describe the nature cf the business Emp|oyer identification number

 

7 7 Do not include Sociai Security number or |T|N.

Buslnass Name 7~»7 ,,,,,.~....~.,......,.........,..._..., .....,..,....4 .., .,,,. . , , ,~,.,

ElN: -

 

Number Sueet 7 7 77
Name Of accountant of bookkeeper Dafe$ business existed

 

j From To

 

 

City State ZlP Code

Ofilcia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 

CaS€ 8-18-75490-&8'[ DOC 1 Filed 08/14/18

Hi|arlo Turcious Velasquez

 

 

 

 

 

Debtor 1
Firsl Name Middie Name Last Name
Describe the nature of the business
Business Name
Number street Name of accountant or bookkeeper
city State ZlP code

Eni€red 08/14/18 16236:51

Case number (irlimwm

Emp|oyer identification number
Do not include Sociai Securliy number or i"i‘iN.
§ ElN: -

Dates business existed

1 From To

 

institutions, creditors, or other parties.

[\ZiNo

El ves. Fill in the details below.

Date issued

 

Name llllllllnDlYYw

 

Number Street

 

 

City State ZlP Code

Part 12: Slgn Bolow

18 U.S.C. §§ 152, 1341, 1519, and 35?1.

  
   

j x

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial

l have read the answers on this Statement of Financial Affal'rs and any attachments, and i declare under penalty of perjury that the
answers are true and correct l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

 

Signature of Debtor 'l

 

Signature of Debtor 2

Date Date

Et No
n Yes

g No
Ei Yes. Name of person

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy(Officia| Form 107)?

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

. Atiach the Bankruptcy Peil'tl'ori Preparer’s Notl‘ce,

 

 

Deciaraiion, and Signature (Ofiicia| Form 119),

 

Ofi`lcla| Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 12

 

CaSe 8-18-75490-ast DOC 1

Bayvicw Loan Servicing
4425 Ponce De Leon Blvd
Coral gables, FL 33146

Chase
PO Box 15298
Wilmington, DE 19850

Chase Home Equity
10790 Rancho Berna
San Diego, CA 92127

Chase Mortgage
10790 Ranch Bcrna
San Diego, CA 92]27

DSNB Macys
PO Box 8113
Mason, OI-I 45040

Uniiimd CCR LLC

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c/o Mullooly, Jeffrey, Rooncy & Flynn, LLP

6851 Jen`cho Turnpike
Syosset, NY 11791

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